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                           United States District Court
                                District Of Maine


Christopher O’Connor, et al.                  )
                                              )
                          Plaintiffs,         )
                                              )
              v.                              )   Civil Action No. 2:14-00192-NT
                                              )
Oakhurst Dairy, et al.                        )
                                              )
                          Defendants.         )


                         Joint Follow-Up Status Report

      In accordance with the Court’s January 18, 2019 e-notice setting the

deadline of January 28, 2019 to file a Follow-up Status Report, the Parties

submit the following Status Report.

      1.     Since the Parties’ filing of the Joint Status Report on January 17,

2019 (ECF #225), settlement checks have been received or mailed to four of the

six remaining class members identified on the December 13, 2018 Uncashed

Checks Report of KCC, the settlement administrator. In addition, KCC has

confirmed that it will mail re-issued checks to the remaining two class members

on Thursday January 31, 2019.

      3.     Plaintiffs’ counsel’s office has spoken with each of the remaining six

class members and based on those communications expects that all six class

members will promptly negotiate their re-issued settlement checks, leaving $0.00

allocated to the Settlement Class members remaining in the Global Settlement

Fund. If any settlement checks are unexpectedly not negotiated by March 4,
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2019, KCC will forward all funds allocated to those settlement checks as provided

in the Settlement Agreement and Release (ECF No. 208-1).


Date: January 28, 2019                Respectfully submitted,


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                                 Certificate of Service


       I hereby certify that on January 28, 2019 I electronically filed this

document with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to all counsel of record.




                                          /s/ David G. Webbert
                                          David G. Webbert




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